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 3
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     Attorney for Defendant,
 5   LAIMIRO BOBADILLA
 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                      ) CR. No. 1:18-CR-00156-DAD-BAM
10                                                  )
                                                    ) STIPULATION AND ORDER FOR
11            Plaintiff,                            ) CONTINUANCE OF CHANGE OF PLEA
                                                    ) HEARING
12   vs.                                            )
                                                    )
13
     LAIMIRO BOBADILLA,                             )
                                                    )
14                                                  )
                  Defendant.                        )
15                                                  )
                                                    )
16                                                  )
17

18

19          Defendant, LAIMIRO BOBADILLA, through his attorney ROBERT L. FORKNER,
20
     together with the United States of America through its undersigned counsel, VINCENZA
21
     RABENN, Assistant United States Attorney, hereby stipulate and request the following:
22

23
            1.      That the Court continue the change of plea hearing in the above-captioned case

24   from June 24, 2019, to July 15, 2019, at 9:30 a.m.
25          2.      Due to a conflict in Mr. Forkner’s calendar, defense counsel was unable to meet
26
     with Mr. BOBADILLA prior to the current scheduled hearing of June 24, 2019, Mr. Forkner was
27
     dealing with a loss of a family member. Ms. Echevarria was in a Jury Trial in Stanislaus County
28

     Case number 4020070. Further, defendant’s work schedule did not allow for sufficient time to


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     meet with Mr. Bobadilla; in order to answer his questions, research, and file possible defense
 1

 2   motions.

 3          3.      A continuance is requested to allow defense counsel time to file any motions
 4
     before the currently scheduled date. The government and probation officer have been notified
 5
     and have no objections.
 6

 7
            For these reasons, the parties stipulate and request that the Court exclude time which the

 8   trial must commence under the Speedy Trial Act from June 24, 2019 through July 15,2019, for
 9   defense preparation under 18 U.S.C. § 3161 (h) (8) (B) (ii) and (iv).
10

11
     IT IS SO STIPULATED.

12

13
     Dated: June 21, 2019             /s/ Robert L. Forkner
                                                         ROBERT L. FORKNER
14                                                       Attorney for Defendant
                                                         LAIMIRO BOBADILLA
15

16   Dated: June 21, 2019                  McGREGOR W. SCOTT
                                                    United States Attorney
17
                                                           by: /s/ Vincenza Rabenn
18
                                                           Vincenza Rabenn
19                                                         Assistant U.S. Attorney

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 6   Attorney for Defendant
     LAIMIRO BOBADILLA
 7

 8

 9                              IN THE UNITED STATES DISTRICT COURT

10                          FOR THE EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                       )   CASE NO. 1:18-CR-00156-DAD-BAM
12                                                   )
                                                     )   ORDER TO
                   Plaintiff,                        )   CONTINUE SENTENCING HEARING
13
                                                     )
14   v.                                              )
                                                     )
15   LAIMIRO BOBADILLA,                              )
                                                     )
16                                                   )
                   Defendant.                        )
17                                                   )
                                                     )
18                                                   )
                                                     )
19

20
             Pursuant to the stipulation of the parties, defendant’s Change of Plea Hearing in the
21
     above-entitled case shall be continued from June 24, 2019 to July 15, 2019 at 10:00 a.m. and the
22
     time which the trial must commence is excluded under the Speedy Trial Act from June 24, 2019
23
     through July 15,2019, for defense preparation under 18 U.S.C. § 3161 (h) (8) (B) (ii) and (iv)
24

25
     IT IS SO ORDERED.
26
          Dated:   June 21, 2019
27                                                       UNITED STATES DISTRICT JUDGE
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     Case 1:18-cr-00156-DAD-BAM Document 81 Filed 06/21/19 Page 4 of 4


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